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                                                                                                          E-FILED
                                                                           Monday, 20 July, 2020 11:46:23 PM
                                                                               Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS

Aaron O’Neal, N53022,                              )
                                                   )
       Plaintiff,                                  )
                                                   )
       v.                                          )       Case No. 18-4063-SEM-TSH
                                                   )
Manuel Rojas, et al.,                              )
                                                   )
       Defendants.                                 )

                            DECLARATION OF MANUEL ROJAS

       I, Manuel Rojas, do hereby declare and state, under penalty of perjury, that I have personal

knowledge of the facts and matters discussed in this declaration, and if called as a witness, that I

am competent to testify and would state as follows:

       1.      Cursillo is weekend retreat that occurs once a year. Ultreya is a reunion group,

based on the Cursillo retreat, that typically occurs the third Tuesday of every month.

       2.      The Cursillo retreat and Ultreya are held in the Chapel of Hill Correctional Center.

       3.      The Hill Correctional Center Chapel has a maximum occupancy of 100.

       4.      In my experience, during the Cursillo retreat, there were approximately 25

volunteers, or sometimes more, who came to Hill Correctional Center to participate in the retreat.

       5.      The number of offenders who can be allowed to participate in the Cursillo retreat

and Ultreya service is limited by the maximum occupancy of the Hill Correctional Center Chapel.

       6.      Typically, I received offender requests to participate in the Cursillo retreat in excess

of the amount of space available in the Chapel after accounting for the maximum occupancy

requirement and the number of volunteers.

       7.      There were also times when I received requests to participate in the Ultreya service

in excess of the amount of space available in the Chapel.


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       8.      Due to the occupancy limit and the number of volunteers, I have had to limit the

number of offenders who could participate in the Cursillo retreat and the Ultreya services.

       9.      I did not remove Mr. O’Neal, or other offenders who wanted to participate, from

the list of individuals who wanted to participate in Cursillo and Ultreya.

       10.     However, due to the number of individuals who were on the list to participate, not

all the offenders who requested to attend were able to attend every Cursillo and Ultreya.

       11.     When there were too many requests to participate in Cursillo or Ultreya, the

decision was made to allow newer offenders who had not previously been able to attend Cursillo

or Ultreya to participate in those events. If everyone who requested was allowed to attend these

events, the number of individuals in the Chapel would exceed the maximum occupancy limit of

the Chapel.

       12.     When there were too many requests, my clerk would go through the list of

individuals who wanted to participate, determine who was eligible to participate, and I would issue

call passes to those individuals so they could attend.

       13.     This decision affected some individuals who, like Mr. O’Neal, had been

participating in these events for longer periods of time.

       14.     Mr. O’Neal was only unable to attend one Cursillo retreat held in early 2016 and

one Ultreya service, which was a continuation of the Cursillo retreat and occurred shortly after the

Cursillo retreat, because the number of individuals who had requested to participate exceeded the

number of spaces available in the Chapel.

       15.     Any complaints Mr. O’Neal may have made about Lent meals, or any other topics,

played no role in the decision concerning who would be able to participate in Cursillo or Ultreya.




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       16.     Even though Mr. O’Neal was not able to participate in these services, Mr. O’Neal

was able to practice his religion in other ways: he could obtain copies of the paperwork distributed

at Cursillo and Ultreya in order to complete them in his cell; he could engage in individual prayer

in his cell; he could read the Bible and any other religious texts he had in his possession; he was

allowed to attend the other Catholic Tuesday services; he could watch Catholic mass on the

institutional television; and he could watch other Catholic programing on the institutional

television.

       17.     I did not prevent Mr. O’Neal from participating in other Cursillo retreats or Ultreya

services.

       18.     I did not prevent Mr. O’Neal from participating in any other Catholic services.

       19.     For an offender to participate in regular Catholic Tuesday services, I did not need

to issue call passes to that offender. As long as the offender was listed as Catholic on his

assignment sheet, and there was not a another reason, such as an offender being in segregation or

the facility being on lockdown, that offender would have been allowed to participate in regular

Tuesday Catholic services.

       20.     According to Mr. O’Neal’s Assignment History, Mr. O’Neal has been listed as a

Catholic participant for regular Catholic Tuesday services since March 27, 2015. [Ex. 3-1

Assignment History].

       21.     It is my understanding that the day before a regular Catholic Tuesday service, the

shift commander would print a list of individuals who were listed as Catholic participants for

regular Catholic Tuesday services and distribute those lists to the cell houses so those offenders

could attend those services.




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                      s/Manuel Rojas
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                                                                                                                                                                                                       Exhibit 3-1


Offender              Location    Living Unit (Offender)Job
                                                         (Offender)
                                                            Assignment                         Section   Pay Rate     Asgn Status   Primary Start Date      Planned End Date Termination Date     Termination Reason
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 CHAPEL , PARTICIPANT-HIL519410009               1   NOT PAID     ACTIVE        No            1/10/2018
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 CATHOLIC , PARTICIPANT-HIL505010009             1                ACTIVE        No            3/27/2015
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 UNASSIGNED ,PARTICIPANT-HIL710010009            1                ACTIVE        Yes          10/12/2017
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 LOSS PRIV , AUDIO/VISUAL-HIL910219137           1   NOT PAID     TERMINATED    No            9/19/2017         10/19/2017      10/19/2017    CMPL OF JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 LOSS PRIV , COMMISSARY-HIL910219104             1   NOT PAID     TERMINATED    No            9/19/2017         10/19/2017      10/19/2017    CMPL OF JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 DISCIPLINARY SEG. ,LOCKUP-HIL400010325          1                TERMINATED    Yes           9/12/2017         10/12/2017      10/12/2017    CMPL OF JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 H.U. 3 , WORKER-HIL716710873                    1   SKW/A/1.43   TERMINATED    Yes           8/27/2017          2/27/2018        9/12/2017   SEGREGATION
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 TEMP CONFINEMENT , LOCKUP-HIL555910325          1                TERMINATED    Yes           9/12/2017                           9/12/2017   DISCIPLINARY CHANGE
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 UNASSIGNED ,PARTICIPANT-HIL710010009            1                TERMINATED    Yes           3/19/2017                           8/27/2017   ROUTINE ASSIGN CHANG
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 CHRISTIAN , RETREAT PARTIC-HIL512012506         1                TERMINATED    No           11/10/2015                            6/1/2017   CMPL OF JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 H.U. 2 , WORKER-HIL716610873                    1   SKW/A/1.43   TERMINATED    Yes           9/19/2016          3/19/2017        3/19/2017   CMPL OF JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 CATHOLIC ,PARTICIPANT-HIL505020009              2   NOT PAID     TERMINATED    No            6/18/2016                           1/31/2017   CMPL OF JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 UNASSIGNED ,PARTICIPANT-HIL710010009            1                TERMINATED    Yes          10/27/2015                           9/19/2016   ROUTINE ASSIGN CHANG
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 H.U. 3 , WORKER-HIL716710873                    1   SKW/A/1.43   TERMINATED    Yes           4/27/2015         10/26/2015      10/26/2015    CMPL OF JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 UNASSIGNED ,PARTICIPANT-HIL710010009            1                TERMINATED    Yes           12/9/2014                           4/26/2015   ROUTINE ASSIGN CHANG
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 CATHOLIC , PARTICIPANT-HIL505010009             1                TERMINATED    No           10/20/2007                           1/30/2015   NON-CMPL JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 CHRISTIAN , RETREAT PARTIC-HIL512012506         1                TERMINATED    No            11/5/2014                         12/30/2014    CMPL OF JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 DIETARY DEPT. , WORKER-HIL706020873             2   SKW/A/1.43   TERMINATED    Yes           7/28/2014                           12/8/2014   ROUTINE ASSIGN CHANG
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 DIETARY DEPT. ,WORKER-HIL7060550873            55   SKW/A/1.43   TERMINATED    Yes           12/9/2013                           7/27/2014   ROUTINE ASSIGN CHANG
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 UNASSIGNED ,PARTICIPANT-HIL710010009            1                TERMINATED    Yes           12/3/2013                           12/8/2013   ROUTINE ASSIGN CHANG
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 H.U. 3 , WORKER-HIL716710873                    1   SKW/A/1.43   TERMINATED    Yes           12/3/2012                           12/2/2013   ROUTINE ASSIGN CHANG
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 CATHOLIC ,PARTICIPANT-HIL505020009              2                TERMINATED    No           11/21/2012                            2/1/2013   CMPL OF JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 H.U. 1 ,WORKER-HIL716510873                     1   SKW/A/1.43   TERMINATED    Yes          12/19/2011                           12/2/2012   CMPL OF JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 CATHOLIC ,PARTICIPANT-HIL505020009              2                TERMINATED    No            2/22/2012                           3/29/2012   NON-CMPL JOB OR ASGN
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 H.U. 4 ,WORKER-HIL716810873                     1   SKW/A/1.43   TERMINATED    Yes           1/10/2011                         12/18/2011    ROUTINE ASSIGN CHANG
N53022 O'NEAL,AARON   HILL:HILL   HIL:HIL:R1:B:15:L1 H.U. 2 , WORKER-HIL716610873                    1   SKW/A/1.43   TERMINATED    Yes           1/18/2010                            1/9/2011   ROUTINE ASSIGN CHANG




                                                                                                            O'Neal v. Rojas, 18-4063 (C.D. Ill.), Document No.                                         000307
